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      September 17, 2019




      Subject: Woodbridge Investment

      To Whom It May Concern:

      First off this is so much very hard subject for me to express. My life has been turned
      upside down since I have found out that my life’s savings have been stolen. I was
      promised that this was a guaranteed and not to worry investment by all parties involved
      when signing up. I try not to think about it on a daily basis as I just spiral down hill with
      emotions. I have so much anger at all parties that were involved that they can literally
      scam people of any age. Shame on them! That’s mild for what I’m thinking because I
      definitely don’t want to become that bitter person.

      Second I just hope that all involved in losing their money from Woodbridge will get it
      back or at least most of their money. Seniors on a limited income should not have had to
      go through this experience.

      I will end now because I just can’t continue but I hope you understand how I’m feeling
      right now.

      Kathy Furman




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